  

; (http://www.po|itlcoicom) project Cassandra

The secret backslory of how Ob:ama |e`l Hezbo|lah off the hook

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n.Feb. 12, 2008, CIA and Israeli intelligence detonated a

bomb in Mug_hniyeh's car as he was leaving a celebration

of the 29th anniversary ot` the Irania.n revolution in

D_arnascus, Syria. He was killed instantly. lt was a. major
blow to Hezbollah, but soon after, wiretapped phone lines and other
U.S. evidence showed that his'criminal operation was busier-t.han
ever, and overseen by two trusted associates, according to interviews
with former Project Cassandra officials and~DEA documents.

One was financier Adharn 'l`abaja. 'I`he other, the interviews and
documents reveal, Was Safieddine, the key link between Hezbollah
- which was nm by his cousin, Hassa_nNasrallah and his own
brother Hashern - and lran, Hezbollah's state sp onso'r. which saw
the-group as its strategic ally in defending Shiite Muslims in the
largely Sunni Muslim states that surrounded it.

lnvestigators were also.homing in on several dozen key players
underneath them who acted as “superfacilitators" for the various
criminal operations benefitting Hezb'ollah..!ran and, at time"s,' their
allie_sln bag Syr_ia. Venezuela and Russia.

.But it was Safl`eddine, a low-key, bespectacled man with a diplomatic
bearing, who was their key point of connection from his base in
’-l`ehran, invesh'gators believed

The Colombia and Venezuela investigations'linkedhim to numerous
international drug smuggling and money laundering networks. and
especially to one ofthe biggest the DEA had ever seen, led by
Med_ellin-based Lebanese businessman Ayrn_an ]oumaa.

]oumaa’_s network rang alarm bells in Wa`sh.i.ngton when'a_gents
discovered he.was'worldng with Mexico's brutal Los Zetas
(https://www.dea.gov/divisions/dal/zoo9/da11aso723ogp,html)
cartel to move mult'L-oonloads of cocaine directly into the__United
States, and washing 3200 million a month in criminal proceeds with
the help of 300 or so used car dealerships. The network would
funnel huge amount§ of money to the dealerships to purchase used
Cars, which~would then be shipped to B'e'nin,`o'n" Africa's west coast.

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Adham Tabaja
l.et)anese businessman,
alleged wlear!er
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`l'he' secret backslcry of how Obema let He)_l)ollah oil the hook

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As the task force investigators intensified their focus on'Safiecldine,
they were contacted‘out of the blue`by Asher. the Defense
Department oHicial, who was at Special operations Command
tracking the money used to provide ragtag lraqi 'Shiite militias with
sophisticated weapons for use against U.S, rroops, including the new
and lethal IED known as the “Explosively Formed Pen`etra'tor." The
armor-piercing charges were so powerful that they were tipping Ml
Abrams tanks in half.

"Nobody had seen weapons like these," Asher told POLl'l`ICO. "They
could blow the side off-a building;"

Asher's curiosity had been piqued by evidence linking the IED
network to~ phone numbers intercede in the Colornbi'a
investigation Before long. lie traced the unusual alliance to a
number allegedly used by $atleddi.ne in.lran.

"l had'n`o clue who he was,' Asher recalled “But this guy was
sending money into Iraq to kill American scl'diers."

“l had no clue who he.was. But this-guy
was sending money into lraq,_ to kill
Amer-i_can soldiers."

-- David Asher on 'A bda/lah Saf/‘eddine.

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David Asher

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_ The secret backelory of how Obama lot llozboileh off the hook

(http://www.politlco,com) PlojoctCassandra Partl l P:\rt\l l Partlll

 
 

’l'hanl<s to that chance connection the Pentagon's then-head of
counternarcotics, Williarn We_chsler, lent Asher and a few other
Defense Department experts in tracking illicit money to the DEA to
see what they might find.

lt was a fruitful partnership Asher was accustomed to tolling in the
iinancial shadows. During his zo-plus years ofU.S. government
worlc his core expertise was in exposing money laundering and
schemes to avoid financial sanctions by rogue nation states, terrorist
groups, organized-crime cartels and weapons proliferation

networks

Usually, his work was strictly classified ForProject Cassandra,
howeverl he got special dispensationfrom the Pentagon to build
networks of unclassified information so it could be used in criminal
prosecutions

Asher and his team quickly integrated cutting-edge financial
intelligence tools into the various DEA investigations With the U.S.
military's help, agents translated thousands of hours of'inte rcepted
phone conversations from Colornbia in Arabic that no one had
considered relevant until the Hezbollahlinlcs _appeared.

When the translations were complete, investigators said, they Abdallah SaHeddine
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legitimate businesses and front companies ’B“F‘?°“ "“f""

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international drug
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Safieddme did not respond to requests for comment through various

intermediaries including Hezbollah's media arm. A I-lezbollah
official, however, denied'that the organization was involved in drug
dealing.

“$heil< Nasralla.h has conHL-med lots of times-that it is not permitted
religiously for Hezbollah members to be trafficking drugs," the
official said. "It is something that is prevert`.table, in that we in lslam
have thingslike ha`lal [perrnitted] and haram [prohibited]. For us,
this is haram. So fin no way is it possible to be done.’.'

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_ The secret backslory 'of how Obama let Hezbollah offlhe hook

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representative said, “is part of the campaign to distort the image of

Hezbollah as a resistance bmovementagair_ist the Israelis. Of course, it

is possible to have Lebanese people involved in drugs, but it is riot

possible for them to be members of Hezboliah. This is absolutelynot

 
 
 

possible."

Asked about Safieddine's role in the organization the official said,
"We don't usually expose the roles everyone plays because it is a
jihadi organization So it is a little bit secret."`

Sar`ieddine's cousin Nasrallah, the Hezboliah leader, has publicly
rejected the idea that Hezbollah needs to raise money at all, through
drugs or any-other criminal activity, because lran provides whatever
funds it needs.

Safiedd`ine himself however, suggested otherwise in 20`05, when he
defiant]y refuted the Bush administration’s.accusations that Irari and
Syria supplied Hezbollah with weapons Tho se countries'provided
"political and moral” support only, he told~Agence France-Presse.
”We don't need 'to arm ourselves from Tehran. Why bring weapons
from Iran via-Syria when we can procure them anywhere in the
world?"

“We don't need to arm ourselves from
T_ehran. W~hy bring weapons from lran
via Syria when we can procure them
anywhere in the world~?”

- Abda/Ian Safledd/ne.ro.,§gence France~.*_’resse lo' 2005.

Safieddine may have been right Agents found evidence that
weapons were flowing to Hezbollah from many chaxmels, including
xnerw<>rks char cramch m barh‘dmgs and weapons lend-using the
same trafficking networks that humm'ed With drugs, cash and
commercial products, agents concluded, Sa'fl'e'ddine was overseeing
Hezbollah efforts to help kan procure parts and technology for its
clandestine nuclear and hallich missile programs

"Hezbollah operates like the Gambino crime family on steroids, and
he is its John Gotti,” said -Kelly, referrinth the infamous “Teflon
Don" crime boss who-for decades eluded justice "Whatever Iran
needs, Saiieddine is in charge ofgetting it for them ."

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The secret beckstory of `h`ow Obema lel'|iezbollah o{f the hook

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crime family on steroids, and he is its
.Ioh_n Gotti.”

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The B'ush administration had made disrupting the networks through
which Iran obtained parts for'its weapons of mass destruction
programs atop priority, with then-Deputy National Security Adviser
Juan Zarate

(http://docs.house. gov/meetings /BA/ BA00/20160623 /105131/ HHR
G-114-BAOO-Wstate-Zara.te}~zol€o623.pdf] personally overseeing an
interagency effort to map out the procurement channels A former
]ustice Department prosecutor, Zarate understood the value of
international law enforcement operations and put DEA's Special
Operations Division at the center of it.

But even then, other agencies were altering at the DP_.A‘s"role.

A SERIES -OF RDADBLO.CKS

Much ofthe early turb\uence stemmed from an- escalating turf battle
between federal law enforcement and intelligence agencies over
which ones had primacy inthe global war on terrorisml especially
over a so-called hybrid target like Hezbollah_, which wasboth a
criminal enterprise and a national security threat

The “cops" from the FBI and DEA wanted to build criminal cases,
throw 'Hezboll_ah operatives in prison and get them to`turn on.each
other. That stoked resentment among_the "spooks"»at'the CIA and
National 'Security Agency, who'for 25 years had gathered
intelligence sometimes through the painstaking process of having
agents infiltrate Hezbollah, and then occasionally launching
assassinations and cyberattacks to block imminent threats

P.urther complicating the picture was the role of the St`are__
Department. which-otten wanted to quash both law-enforcement
actions and covert.operations due t_o the political backlash they
created Hez’bol_lah, after all, was a leading political force inL_eb`a_non
and a providerof humart.services, with a sincere grass-roots
following that wasn’tnecessarily aware of its unsavory actions.
Nowhere was the tension between law enforcementand diplomacy
more acute than in dealings with Hezbollah, which was fast
becoming a key part of the Lebanese government

Distrust among U.S. agencies explo ded¢after two incidents brought
the cops~spo_oks divide'into clear xelief-.
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The~secrel backslory of how Obama lel Hezbollah off the hook

tip://www.po|lt|co.com| Prol£le§g'aessv§§d}§ng ggx§ qft£la??tlls|ufh Sgi“l'nlstrauon' a DEA agent's cover

was blown just as he was about to become a Colornbian cartel’s main
cocaine supplier to the Middle East -- and to Hezbollah operatives

A year later, under Obama, the State Department`blocked an FBI~led_
]oint l`errorism Task Force from hiring a‘key eyewitness from Beirut
to P.hiladelphia so he could_be arrested and turned against
Saf`led_dine and otherHezbollali operatives in a scheme to procure
1,200 ColtrMA military~grade assault rifles.

Inboth cases, law enforcement agents suspected that Midclle East-
basedspies in the ClA had to'rpedoed their investigations to protect
their politically sensitive and complicated relationship with
Hezbollah.

The CIA declined to comment on the allegation that it intentionally
blew the coverof a DEA agent or any other aspect of its relationship
with Project Cassandra. 'I`he Obama State Department and ]ustice
Deparunent also declined to commentin response to detailed
requests about their dealings with Hezboll ah.

But the tensions between those agencies and'the-DEA were no secret

S`orne current and former diplomats and ClA~ ollicers. speaking on
condition of anonymity, portrayed DEA .Special Operations agents as
undisciplined and overly aggressive cowboys with little regard*for
the larger geopolitical picture “They’d come in hot to places like
B'eirut, want to slap handcuffs on people and disrupt'operations we'd
been cultivating foryears,” one former CIA case omcer said

“'l'hey'd_ come in hot to places like
‘Beirut, want to slap handcuffs on
people and disrupt operations we’cl
been cultivating for years."

- Former C/A case officer on how me DEA operated

K_elly and other agents embraced their swashbucklin'g reputation
claiming that more aggressive tactics,were needed because the C_IA
had long¢mmed a_ blind eye to Hezbollah's criminal networks. and
even cultivated informants within them, in a misguided and,myopic
focus on preventing terrorist attacks

’I-'he unyielding posture of Kelly, Asher and their team also rankled
some of their fellow law-enforcement agents within the FBI,, the
lustice Department and even the DEA itself The more Kelly and

https:/tvmw.po|ilico.comllnleractives/2017/0bema-hezbollah-drug~lraflioking-.lnvestlg'ation/

 

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named task force project
Caasandra after classes
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David Asher
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The secret backetory of how Obama lot Hezbol|ah off the hook

  

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After a fewyears of working together on the Hezbollah cases, Kelly
and Ashe):- had become a_f'amiliar sight in the never-ending circuit of
meetings and bn`eflngs in what i`§.k.nown as the “interage`ncy
process,`" a euphemisrn for the U.S. national security community’s

efforts.to bring all elements ofpower to bear on a particular problem
From outward appearances the two made an unusual pain

Kelly, now 51, was a streetwise agent from small»town New]ersey
who cut his teeth investigating the Mafla and drug kingpins. He
spent his infrequent downtime lifting weights.. watching college
football and chilling in cargo shorts.

Asher, 49,- speaks fluent Iapanese, earned his Ph.D. in international
relations from Oitford University and has the pallor_ cfa senior
government official who has spent the past three decades in policy
meetings, classified nn'.lita`ry war rooms and diplomatic summits.

Bot'h were described by supporters and detractors alike~as having-a
sindlarly.formidable combination of investigative and analytical
skills, and the sel£con£dence to match it. At times, and especially on
Project Cassandra, their intensity worked to the detriment oftheir‘
careers_.

”It got to the point-where a lot'of people didn't wanttn have meetings
with them," said one`I-'.BJ tenoxism task force supervisor who worked
oftenwith the two. ""l`hey refused to accept no £or_an answer. And_
they were often given no for an answer. ,'Even though they were
usually_.right."

Subject.: SDFLS obstruction of 'a 960_a indictment will have £`ar reaching
implications including threats to our Nation_xl Socu;:ity

 

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Th`e.'secret backslory of how Oboma le`l Hezbolleh off the hook

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An early flash point was Operation Titan», the DEA initiative in
Colombia. After its undercover agent was compromised DE_A and
Colombian. authorities scrambled to build cases against as many as
130 traffickers including a Colomblan cartel leader and a suspected
Safieddine associatenamed Chel<ry Harb, nicknamed El Talib an‘

For months afterward, the lustice Department rebuffed requests by
task force agents, and some.of its own prosecutorsl to add
narcoterrorism charges lo-the drug and‘money-launderu'lg counts
against Harb, several sources involved in the case saicl.l Agents
argued that they had evidence that would easily support the more
serious charges Moreover, Harb's prosecution was an essential
building blockin` their larger plan for a sustained legal assault
against Hezbollal"l's criminal.networl<.

Its centerpiece would be a prosecution under the Racl<eteer Act, a
powerful tool used by the J'ustice Department against sophisticated
international conspiracies including the Mat`la, drug cartels and
white-collar corporate crirnes. A RICO case would give the task force
the ability to tie many seemingly unconnected conspiracies together
and prosecute thealleged bosses overseeing them, like SaEeddirle.
participants say.

lt would also allow authorities to seize potentially billions in assets,
they say, and to use the threat of far longer_prison'tenns to.wring
more cooperation out of Harb and others already chargedior
convicted

After the]ustice Departlllentfs final refusal to bring_narcoterrorism
charges against Harb,.Kel_ly sent an angry emal'l to the_DBA
leadership warning that ]ustice's "obstruction" would have~"_far
reaching implications including threats to our National `S‘ecurlty"

zgiven Hezbollah"s mushrooming criminal activity.

Of particular concerns A 25-year-old Leba.nese man that Kelly
described as the networ 's “command and control element,"
according to the email

The young man was notonly in contact "with)oumaa and some of
the other top drug traffickers in the world" but also "leaders of a
foreign [counl:xy's] black ops special forces ; executive leadership of
Hezbollah: .and a representative of a company whichis most likely
facilitating the development of WMDs_.',' `

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Th`o~secrol bockslory of how Obama let Hezbo|lah off the hook

"W ecshoujld als anot'fo£g§tl” he pdp\ed, “about the loo’s of used car §;EMH&‘SUEUR?=‘”’ o

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companies in the states -~ some of them owned by lslamic leqpicys%l§fégl pins 01
Extrerrlists - which are part of this network." in interviews former Q,;};l§g""/\'}\%v' did 0/7<51“";\

v _ 6._` il‘-l s
task force officials identified the young man as Salieddine's son. and ig?'$z

 

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”Business l llairs
vCotu|)om;m“ involved in
lnlemi.\léoc\al emg
trafficking

said he acted as his father's liaison inBeirut.

All of that information was shared with other law enforcement and
intelligence agencies - and the White‘House - via tlle DEA's
Chantilly nerve center But by early 2009-, O_bama's national security
team batted down Project Cassarl‘d`ra's increasingly urgent warnings
as being overly alarmist, counterproductive or untrue, or simply
ignored them, according to Kelly, Asher. Maltz and other participants
in and.out of government

By following the money, though, Asher had become convinced that
the task force Wasn't overhyping the threatposed.by Hezbollah's
criminal activities, it was significantly underestimatlng it. Because
'He'zbollah's drug trafficking-was bankrolling its lslamic Jihad
military wing and joint ventures with Iran, as Asherwould`later
testify beforeiCongress. it represented “the largest material support
scheme for terrorism operations" the world had everseen.

Foreign and resident bank deposits' m Lebanese Central B'ank
Bolh resident and nonresident deposits grew despite war and global financial crisis suggesting to
investigators that drug proceeds were flooding the financial system

Flesid_ent deposits
Nonresidenl deposits

Noxe: /\11 values m celanese pound simms ten-aron canon am

As'proof, Asl'ler would often bring Pow_erPoln'ts to interagency drug thid Asher
-d . . . . h . . h ` fn _ . veteran us imm finance
an crime meetings s owing how cas reserves o .S currencyin men
Lebanon had.doub_led, to $16 billion, in justa few years, and how lvlms¢/‘/youlu~!>€/kcuO\/ao
9L70) sent from pentagon

shiny new skyscrapers were peppan up around lleirut, justli_ke
Miami, Fanarna Cit;t l?an_am.a, and other cities awash in drug money

 

so Pro;ect mssanor.a lo
attack the alleged

He¢liolian
(hllp:/jdocs.c_\ouse.gov/me'
Privately Asller began to tell-task‘force colleagues,'the bestway to ` ;;`:§:/;;;;:::/;::;?°0
take down the entire criminal enterprise-» especially such a FADGWS=H\¢-/\S“¢'D-
. , - , 201'IOSOB.PDF1 criminal
politically sensitive one as Hezbollah _ was to go after its vrl'ioriey, e,“e,p,,'se_
and the financial institutions assisting it. Their first target would be
one of the world’»s taste st-growing banks, the Beirut-based `Lebanese
`Canadian Banl< and its 35 billion in assets.
BL°CKEU EFFORTS, M`lSS'ED CPPORTUNITIES
Asher.lcnew how-to successfully implode the financial
underpinnings of an illicit, state»sponsored'traff`icking network
because he'd already~done it, just'a few years earlier, as the ~Bush
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The.secret becketory of how Obema let Hezbolloh off the hook

inist§aatior§§yloint grain on glath Korea, In that case, he used the n

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post-Q/u PATRIO'I' Act to cut off P.yongyang by going after Banco
Delta Asia_ a Macau-based bank that made illicit financial
transactions on behalf of the North-Korea.n regime.

In Beirut, Asher and his team worked with an Israeli intelligence
operation to penetrate the l.ebanese banlc"s inner workings and`
diagram its Byz-anti`ne money tlows. 'l'hey gathered evidence
showing how Jounia'a's- network alone was laund ering-$ 20 0_ million
per month in "bull< proceeds of drug sales" through the baril<‘and
various money exchange houses, according to Iustice and Treasury
department documents

Much ofthe freshly launderedcash, the records show. was then
wired to about300 U.S. used~car dealers to buy and ship thousands
of'vehicies to West Africa

Task force agents also documented how Sa.fieddine was a financial
liaison providing Hezbollah~- and, of potentially huge significance
Iran - with VIP services atth'e-ba'nlc, including precious access ¢to
the international financial'system in violation ofU.S. sanetions_,
according to those records.

By then, the task force was working closely with federal prosecutors
in a new Terrori'sm and lnternation'al Narcot-ics Unit out of the
]ustice Departrnent's Sout}iern District of New Yorlc. 'I'he M'anhattan
prosecutors agreed to idle cnminal charges against the bankand two
senior officials that they hoped'to turn into cooperating witnesses
against 'Hezbollah and Safieddi.ne, several participants said

Federal authorities filed a civil action
(https://www.treasurygov/pre`ss-center/press-
releases/Fages/tgios?.aspx) against the hankin Pebruary 2011 and
later seized $102 million (https://www.jus_tice.gov/usao-
sdny/pr/rnanhattan-us-attorney-announcesi-ioz-million-settlement-
civil-forfeimre-and-money),-ultimately forcing it to shut down and
sell fits assets without admitting wrongdoing But the Justice
Department never filed the criminal charges and also stymied
investigations'into other financial institutions and individuals,that
taskforce agents targeted as part of the planned RICO case, they say.

The Obama White`House said privately that it feared a broader
assault on Lebanese financial institutions would desiabilize the
country But without the threat of.prison time,.complicit~bank
officials clammed up. And without pressure o_n the many other
financial institutions in Lebanonand the region Hezbollah simply
~moved'its banld.ng.business elsewhere

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laundered money.

RlCO case

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The secret backslory of how Obama \et Hezl)o|leh off the hook

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prosecutors and asked if there was "something going on with the
White Ho_use that explains why we can’t get a criminal fili_ng."

"You don’t know the half of it," the prosecutor vr<=.pliecl, according to
Kelly. "Right now, we have 50 _l"BI agents not doing anything because
they know their Irar_i cases aren't going anywhere,"~ including
investigations around the =U.‘S~. into allegedly complicit used-car
dealers. '

“Ri`ght now, we have 50 FBI agents not
doing anything because they know
their iran cases aren’t going
anywhe!e”

--Jaclr Ke/¢»/ on what 2 Jusl/`cs Deparrman! c)fiicia.‘ told him about frye c/)itlingef,‘ect of
Obama's rapp/ochen)ent with lran

Justic`e Depaztment officials involved, including_then-U.S. Attomey
Preet Bhar'ara,an'd other prosecutors, declined requests to discuss the
bank case or others involving I-lezbollah.

That October, Asher helped uncover a plot by two Ira.n.ian agents and
aTexas-based lrar)i,an¢American to hire Megcican cartel gunman to
assassihate Saud.i_Arabia's U.S. ambassadorin a crowded Washington
cafe. A‘month later, prosecutors indicted joumaa, accusing¢him of
working with Mexico's Zetas cartel and Colombian and Vene_zuelan
suppliers to smuggle 85 tons of cocaine into the U.S., and latinden"ng
3850 million in drug proceeds.

Nove`mb`er 3,' 2011

|ndlctment of Ayman Joumaa

Joumaa aka "Junior‘ alieged|y cooldinated the transport, distribution and
sales of multi-ton shipments of cocaine. He's also accused of $'a&ndering
money ih the U.S.. Lbbahon. Ben\n, Pana ma, Co!ombia and-the'Demoéralic
Re"oublic of Co'ngo.

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The secret t)ackstory of how Obama let Hezbo|lah off1he’ hook

  

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(https://www.documentcloud.org/documents/4325659-loumaa-
Indictment.hunl)

Task force agents hoped those cases would win them the political
support needed to attack the Hezbollah criminal network and its
patrons in ’l`ehran. Instead, the opposite appeared to be happening.

DEA oHicials weren’tir_iclud'ed in the Justice' and FBI news
conference on the assassination plot. _a_nd claim it was because the
Obama 'White Ho.use wanted to downplay the drug-terror
connection .And- ]ouma,a'sindicnnent didn't mention Hezbolla'jh
lonce, despite DEA evidence of his connections to the group dating
back co 1997.

By the end of 2012, senior officials at the Justice `D`epartment's
National Securityancl.€riminal divisions and at the State
Department and Natl'onal Security Council, had shut down, derailed
or'delayed numerous other H`ezbollah~related cases with little or fno
explanation according to Asher, Kelly,~ Maltz and other current and
former participating officials

Agents discovered “an entire Quds force network" inthe U.S.,
laundering-moneys movingdrugs and illegally smuggling Bell
helicopters night-vision goggles and other items forIran. Asher
said.

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operatives lwere eventually prosecuted, other critically important

indictments "were rejected despite the fact that we had excellent

evidence and testifying witnesses," said Asher, who helped lead the

investigation

 
 
 

In Philadelphia, the l~'Bl-led task force had.spent two years bolstering
its case claiming that Safieddinehad overseen an effort to purchase
1,200 military-grade assault riflesbound for l.ebanon, with the help

of Kelly and the special narcoterrori'sm prosecutors in New York.

Now, they had two key eyewitnesses One would identify Safleddine Abdallah Safi¢ddin€
_ . . . . . Hf-lnnllan'$ longnme ex\~.oy

as the Hezbollah official sitting behind a smoked-glass barricade m m Wm ammann
Who approved the assault weapons deal. And an agent and iiilfcsr/."ww\_v.dc'a.gov/'ui-/isi

' _ ore/m~,/'zoio/hqozons.s
prosecutor had flown to a remote Asian hotel and spent four days m_,m, MMW me gmup~s
persuading another eyewitness to testify about.Saiieddine‘s role in `B“S""'*” "“_"‘*'"*

_ _ _ ' _ Compone'nl' mvolved la
an even bigger weapons and drugs conspiracy, multiple formerlaw anema;:onar drug
lre{l|cking,

enforcement ofdcials confirmed to POLITICO.

Convinced they had a strong case, the New Yorl< prosecutors sent a
formal prosecution request to senior ]usdce Department lawyers in
W_ashington, as required.in such high-profile cases, 'l'he]ustice
Departme_nt rejected it, and the FBI`and DEA agents*were never told
why, those former officials said.

]ust_ice Departrnent officials declined to comment on the case.

~Kelly had been searching for an appropriate DEA code name to give
to collaborating agencies s_o they could access and contribute to task
force investigative Hles. He found it while reading-the Erik Lals_on
book "In the `Garden o£Beasts,' in which the former U.'S. ambassador
'toGermany named his U.S. speaking tour about the growing Na.zi
menace after the famous mythological figure whose warnings about
the.future were unheeded.

N_ow the project had its name: Cassandra.

|nte¢`nal DEA insignia for Project Cassahdra.

STANDING DOWR OH HEZBOLLAR

After Obama won reelection in November 2012,- the administrations
pushback on Hezbollah drug cases`became more overt, and now
seemed to be emanating directly from the White Ho'use, according to
task force members, some former U.S. officials and other observers.

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The-secret backstory of how Obama let Hezbo|lah off the hook

O e reasgri§. they_ts,aiti, Hs"()l)ag;a's"choice of a new national security
team. The appointment of]ohn Kerry as secretary of state was widely
viewed as a sign of a redoubled effort to engage with Iran. Obarna’s
appointment of Brennan - the public supporter of cultivating
Hezbollah moderates ~ as CIA director, and the presidents choice ot`
the lustice ~Department's top national security lawyer, lisa Monaco.
as Brennan's replacement as Wh'ite I-louse counterterrorism and
homeland security adviser, put two more strong proponents of

diplomatic engagement with Iran in l<ey positions

Another factor was the victory of reformist candidate Hassan
Ro.uhani as president of Iran that summ er; which pushed the talks
over‘a possible nuclear deal into high gear.

The administrations eagerness for an Iran deal Was broadcast
through so many channels, task force members say, that political
appointees and career officials at key agencies like ]uscice, State and
the Natiorial S'ecurity Council feltunspoken pressure to view the task
force's efforts with skepticism. One former senior)'ustic-e_
Department official confirmed to POLI'I`[CO that some adverse
decisions might have been influenced by an informal mold-agency
Iran working group that “assessed the potential impact" of criminal
investigations and prosecutions on the nuclear negotiations

Monaco was a particularly influential roadblock at the intersection
oflaw enforcement and politics in part due to her sense of caution,
her close relationship with Oba.ma and her frequent contact with.her
former colleagues at the']ustice Department’s National Security
Division, according to several task force members and other current
and former onicials .familiar'with its.e'n"orts.

Some Objax_i`ia.ofi_icials warned that further crackdowns against
Hezboll.ah would destabilize lebanon Others warned that such
actions would alienate lran at a critical early.sta_ge of the serious Iran
deal talks. An'd some officials including Monaco. said the
administration was concerned about retaliatory terrorist or military
actions by Hezbollah. task force members said

"'i'hat was the established policy of the -Obama administration
internall§h” one fortner senior Obama national security oiicial said,
in describing the reluctance to go after Hezbollah for fear o`f reprisal
He said he criticized it at the timeas being misguided and
hypocritical.

“We’re.obviously doing those actions against al Qaeda and ISIS all
the time," the Obania of&cial said. "I thought it was bad policy [_to
refrain from such actions'.on Hezbollah}`that limited the range of
options we had,” including Crimii:ial prosecutions

https://wwwpolitico.com/interactives/201 7/0bama-hezbo||sh-drug-trafr|cking-.lovestlgatlon/

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Lisa Moneoo replaced Jo!m
Brennan as the While

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_ Tho secret backs\ory of how Obama telv Hezbo|lah off the' hook

up //www. politics conn ProM£%§§ gnqreadm§' m§a%lelle%tae . quq\]beasri?\lfor comment"mcluding detailed y 0
questions sentby email and text, though a former White House

subordinate of hers rejected the task force members’ description of
her motives and actions.

 

Th'e White House was driven by a broader set of concerns than the
fate of the nuclear talks, the former White House official said,
including the fear of reprisals-by _Hezbollah against the Uru`ted States
and Israel, and the need tci-maintain peace and stability in the
Middle East.

Brennan also told POLITICO he was not commenting_on any aspect
of his ClA tenure. His former associates, however,' said that he
remained committed to preventing Hezbollah from»comrnitting
terrorist acts, md that his decisions were based on an overall

concern for U.S. sec urity.

For their part, task force agents said they tried to`work around the
obstacles presented by the ]u_stice and Sta'te Departments and the
White Ho'use. Often. they chose to build relatively simple drug and
weapons cases against suspects rather than the ambitious
narcoterrorism prosecutions that required the approval of- senior
]ustice Department lawyers, interviews and records show.

At the same time though they redoubl'ed efforts to build a RICO case RICO ¢@5€
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and gain]ust_ice Depa_rtrnent supportfor it. am Cqmml Orgammom
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'I'he'ir ace mthe hole', Keily and Asher said they told ]ustice udicials, amrimmairesource-
wasn't some dranmtic drug bu_sr. but thousands of'maividual manua“l_°w¢»
y _ _ cixaygs) increases the
financial transactions each of which constituted an overt criminal severin of penalties ro,-
act under RICO. Much of this evidence grew out of theLebanese l ;::`:::`:?;:':;:cc;',::_

Canad.ian Banl< investigation including details of how an army of
couriers for years had been transporting billions of dollars in dirty
U.S. cash front West Afr'ican car dealerships to friendly banks in
Beirut.

The couriers would begin theirjourneys at a four-star hotel in l.om`e,'
Togo, lug_`glng- suitcases stuffedwitii as much as 52 million each,*
Kelly said. And the tasl<*force was on the tail ofeveryone ofthem, he
said, thanks to an enterprising,DEA agent who hartfon _a way to
:get all of their cellphone numbers “l'liey had no idea what we were
doing" Kelly said. “But that alone gave us all the _slam-dunl<-evidence
We needed" fora RICO case against everyone involved§irz the
conspiracy including Hezbollah.

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_ The secret backstory of how Obama lol Heabo|lah off the hook

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` stulfed with as much as $2 million
,each,_ and the task force was on the tail
of every one of them.

 

Such on-_the-grou nd spadeworl<, combined with its worldwide
network of court-approved communications intercepts, gave Project
Cassandra agents virtual omniscience over some aspects of the
Hezbollah criminal netwo rk.

And from their perch in Chantilly, they watched with growing alarm
as Hezbollah accelerated its global expansion that the drug money
helped finance

Both Hezbollah and Iran continued to build up their military
arsenals and move thousands of soldiers and weapons into Syria.
Aided by the U.S. military withdrawal from Iraq, Iran, with the help
of Hezbollah, consolidated its control and influence over wide
swaths of the war-ravage'd country.

kan and ch.b ollah began making similar moves into Yernen and
other Sunni-controlled countries. And their networks in Africa
trafficked not just in drugs, weapons and used cars but diamonds,
commercial merchandise and even human slaves, according'to
interviews with Former Projeet Cassa`ndra members and 'l`reasury
Department documents Hezbollah and the Q_uds force also~vvere
moving into _China and other new markets

But Project Cassan‘dra's agents were most alarmed, by far,_by the
havoc Hezbollah and Iran were mealdng in Latin Ame_rica.

A 'I‘HREAT lll AMER!CA’S BACKYARD

In the years after the 9/u terrorist attacks, when Washington's'focus
was elsewhere Hezb`ollah and Iran cultivated alliances with
governments along the "cocaine corridor" from the tip of South
Amerlca to Mexico, to turn them against the United States.

'l'he strategy worked in Bolivia, Ecuador and Venezuel_a, which
evicted the DEA, shuttering'_strategic bases and partnerships that
had been a bulwarkin the U.S. countemarcotics campaign

InVenezuela, _President l-lugo Chavez was personally working with
then-Iranian president, Mahxnoud Ahmadinejad, and Hezbollah on
drug trafficking and other activities aimed at undermining U.S;
influence in the region, according to iritervi_ews~and documents

 

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Within a few years, Venezuelan cocaine exports skyrocketed from 50
tons a year to 250, much of it bound for Arnerican cities, United
Nations Office of Drugs and Crime statistics show.

And beginning in 2007, DEA agents watched as a commercial
-jetliner from Venezuela's state-run Conviasa airline flew from
Ca'ra_'ca_s to Tehran via Damascus, Syria, everyweek with a cargo-hold
full of drugs and cash. 'Ihey nicknamed it “Aeroterror," they said,
because the return flight often carried weapons a_'n‘d was packed with
Hezbollah and Iranian operatives whom the Venezuelangovemment
would provide with fake identities.and travel-documents on their

a.n'ival.

Frorn there, the operatives spread throughout the subcontinent- and
set up shopin the many recently opened Iranian consulates,
businesses and mosques, former Pi'oject Cassandra agents said.

But~ when the Obama administration had opportunities to secure the

extradition of two of the biggest players in that conspiracy it failed

to press hard enough to get them extradited to the United State s,
'where they would face charges, task force afdcial's told POLITICO.

On'e was Syrian-bor'n Venezue]an businessman Walid Mak.led, alias
the ”king of ld.ng_pins," who was arrested in Colomb_ia. in 2010 on
charges of shipping 10 tons of'cocaine.a monthto' the U_'nited States.
While in custody Maided claimed to have Ao_ Venezuelan generals on
his payroll and evidence implicating dozens of top Venezuelan
officials in drug trafficking and other crimes H_e pleaded to be sent
to New Yorl`< as a .protected, cooperating witness but Co,lombia - a
staunch"U;S. ally - extradited him to Venezuela- instead

The.oth_er. retired Venezuelan general and former chief of
intelligence Hugo Carvajal, was arrestedinAruba on U.S. drug
charges. Carvaja'l "was the=main man between Venezuela and Iran,
the Quds force~, Hezbollah and the cocaine trafficking;’.' Kelly said. “If
we had gotten our hands on either of them. we could have taken
down the entire network."

"lf we had gotten our hands on either
of them,‘ we could have taken down the
entire network."

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mttp;//www.oolltlco.com) Fraieéw€l%§§nm€ ellrlliél"'¢lorl Ofth@.ll VP"'Wl€lH/? 05_"-`."3/ and 3 drug kingpin

The secret backslory of how Ol')amn let Hezbollah off the hook

Instead, V'enezuela was now the primary pipeline for U.S.-bound
cocaine, thanks in part no the DEA's success in neighboring
Colombia. lt had also become a strategically invaluable staging area
for Hezbollah and Iran in the Un`ited States' backyard», including
camps they established `to train Sh.iite militias.

An'd- at the center of much of that activity was the Ghost another
suspected -Safieddine associate so elusive that no photos of him were

said to exist

Projecr Cassandra agents came to regard the Ghost as perhaps the
most important on-the'-ground operator in the conspiracy because of
his suspected role in moving drugs~. money.and munitions, including
multi-ton loads of co caine, into the United States, and WMD
components to the Middle East, according to two former senior U.S.
officials

Now. he and `Journaa were living in Beirut. and'Project Cassandra
agents were so familiar with`their routines that they knew at which
cafe the two men gathered every morning to drink espresso and
“dl.scuss drug trafficking money laundering andweapons." one of
the/two former officials said.

The Ghost was also in business with-another suspected $afieddine
associate Ali l~`ayad, who had'long beeninstrumenml in providing
weapons to.Shiite militias in Iiaq, including through the deadly IED
network that had killed so many U.-S. troops, the former of£cials
believed.

Now, they had information that Fayad, a joint Lebanese`-and
Ukr`ai`nia.n citizen. and the Ghostwer`e involved inmoving'
conventional and chemicalweapons into Syria for Hezbollah, l`ran
and Russia to help President Assad crush the insurgency.ag_ainst his
regime. Addin'g to the mystery:-Fayad served as a-Ul<rainian defense
ministry adviser, worked for the state-owned arms exporter
Ukrspecexport and appeared.to have takez'iBout's place as Putin's go-
to arms merchant the former officials said.

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'l`he Ghost

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The secre\ backstory 'of how Obam'a’|e! Hezbo||ah off ihe hook

  

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as a senior.Hezbollah-Weapons traFHcker, agents scrambled to create

a sting operation, with undercover operatives posing as Colombian

narcoterrori_sts plotting to shoot down Amen‘ca~n government

helicopters

Fayad was happy to offer his expert advice, and-after agreeing to
provide them with 20 Russia.n-made shoulder-fired Igla surface-to-
rocket launchers for $8.3 million, he was arrested by'Czech
authorities on a U.S. warrant inApxi12014, U.S. court records show.

The Fayad sting - and his unprecedented value as a potential
cooperating witness - was just one of many reasons Project
Cassandra members had good cause, finally for optimism.

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A battle against enemies far and near

As negotiations for the Iran nuclear deal i)itensify,= the
administration pushes back against P.`roject Cas.sandra.

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The secret backstory of how Ohama let He’/.l)o||ah off the hook

  

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ttp://www.poiitlc_o.com} Project Cassmid¢a Partl l Fart ll l Part l\l k
ore than a year into Obama's second term, many lohn "Ia¢k" Keliy
. . . . . . DEA agent overseeing

national security officials still disagreed with Kelly and Hubouah cases m wm
Asher about whether l-iezbollah fully controlled a Oi~'€raliv-'\S Divisi'ou. who

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global criminal networl<, especially in drug trafficking G,ss,,,,d;,, aug wishes

and distribution or merely profited from crimes by its supporters ""‘"". °“‘”" “~S' "1“¢“°"`€$
about Heil:ollav drug-tenor

within the global Lebanese diaspora. But'Project Cassandra's years of lime
relentless investigation had produced a wealth of evidence about

Hezbollah's global operations a clear window into how its hierarchy

worked and some significant sanctions by the 'l`reasury Department.

A confidential DEA assessment from that period concluded that
Hezbollah's business affairs entity "has leveraged relationships with
corrupt foreign government odicials and transnational criminal
actors creating a network that can be utilized to move metric ton
quantities of cocaine, launder drug proceeds on a global scale, and
procure weapons-and precursors for explosives."

Hezhollah's network moved "metric
ton quantities of cocaine [to] launder
drug proceeds on a global scale, and
procure weapons and explosives."

Ezcerpt afa Conf?deml'al DEA assessment

H'ezbollah "has at its disposal one of the most capable networks of
actors coalescin'g elements of transnatiorial organized crime with
terrorism in the world,” the assessment concluded.

Sorne.top U.S. military officials shared.those concerns, including the
four-star generals‘he'adirig U.S. Spe'cial Operations and Southe`m
commands who warned Congress that Hezboll`ah's criminal
operations and growing beachhead in Latin America posed an
urgent threat to U.S. security,v according to transcripts of the
hearings

In early 2014. Kelly and other task force members briefed Att_orney
General Eric Holder, who was so alarmed by the Bndings that he
insisted Ob_ama and his entire national security team get-the same

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The secrel backslory of how Obama let Hezbollah off lhe. hook

So task force leaders welcomed the~opportunity to attend all/lay 2014
summit meeting of Obama national security officia_l,s‘at Special
Operations Cornmand headquarters in 'l'a.mpa, Florida. Task force
leaders hoped to convince the administration of the threat posed by
Hezbollah's networks, and of the need for other agencies to work
with DEA in targeting the growing_nexus of drugs,. crime and -terror.

The summit, and several weeks ofiril:'eragency prep that preceded it, .

however, prompted even more pushback from some top national
security officials Monaco, Obarna's countenerrorism adviser,
expressed concerns about using RICO laws against top Hezbollah
leaders and about the p ossi`bi].ity of reprisals, according to` several
people familiar with the summit

'l'hey said senior Obama administration officials appeared to be
alarmed by how.far Project C-a.ssandra's investigations had reached
into the leadershlp.of Hezbollah rand hair and wary of the possible
political repercussions

As a result, task force members~clairn, Project Cassandrawas
increasingly viewed as a threat to the administrations efforts to
secure a nuclear deal, and the top~secret prisoner swap that was
about'to be negotiated

Monaco’s former subordinate speaking on condition of anonymity
said the White House did not attempt to curb DEA-led efforts against
Hezbollah because of the lran deal. Bu_t the subordinate said t`lie
White Housefeit a_ need to balance the drug~agency’s interests with
those of other agencies who often disagreede it.

"Ihe intelligence community fundamentally doubted the intel” from
the DEA, the subordinate recalled “I spent so much time trying to
get them to work together."

Nonetheless. after the meeting in’l'amp_a, the administration made it
clear that lt would not support a _R`lCO case, even though.Asher and
others.say they'cl spent years gathering evidence for it, the task force
members said.

In addition, the briefings for.top White House.and]ustice
Deparimeri't officials tbat'had been requested_by Holde'r never
materialized,- task force agents said (Holder did not respond to
requests for comment.) Also, a uop intelligence'ofllcial blocked the
inclusion of Project Cassandra’s memo on the Hezbollah drug threat
from being included in Obar`na's daily threat briefing they said. And

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Lisa Monaco

Lisa Monaco replaced John
Brenna.'\ as the Wl‘.ile
Hou$e couruerlenorksm
and homelaan security
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Veletan U.~S. illicit finance
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The secret backslory of how Obama let'He?.bolla`h off the hook

tip //www politico com) Pro eci]géss 'Aasli’drezi: an aptlh?r %§l$l}ti sq°lad they Stopped getting mvita'tions to
interagency meetings, including those of a top Obama transn_ational

crime working group.

'I'ha`t may have been'because Obam‘a officials dropped Hezbollah
from the formal list of groups targeted by a special White House
initiative into transnational organized crime,»w_hich in.turn
effectively eliminated DEA's broad authority to investigate it
overseas task force members said.

"Tlie funny thing is-'Iampa was supposed to settle how everyone
would have a seat at the table and what the national strategy is going
to be, and how clearly law enforcement has a role." lack Riley, who
was the DEA's.chief of operations at-'the time, told POLITICO. "And
the opposite happened We walkedawaywith nothing;"

WILLFULLY BLIND TC 'l'HE 'PHREA'I'

After the Tampa meeting, Project Cassandra leaders pushed -
unsuccessfully,,they said - for greater support vi"rom the Obama
administration in extraditing Fayad from the Cze ch Republic to' New
Yor-l< for prosecution, and in locatingl and arresting the many high-
value targets who went underground after hearing news of his
arrest.

They'also struck out repeatedly, theysaid,--in obtaining the
administrations approval for offering multimillion-dollar "rewards
for j_ustice" boundes of a type commonly issued vt"oriuclicted kingpins
like Joumaa, and for the administration to unseal the secret
indictments of others, like the Ghost. to improve thechances of
catching them.

`And:tasl< force officials pushed the Obama team, also unsuccessfully
to use U;S.~ aid money and~weapons sales as leverage to push Lebanon
into adopting an'extraditi_'on treaty and handing over all.of the
indicted Habollah.suspects living openly in the country, they said.

"’Ihere were ways of.getting these guys if tliey'd let us,"`Kelly said.

Fnistrated, he wrote another of his emails to DEA leaders inJuly
2014. asking for help,

The emai.l stated that the used-car money-laundering.scheme was
tlour-ishing in the United States and »Africa. The~number of vehicles
being shipped to Benin had more than doubled from December 2011
to 201'4. lie wrote, with one dealership alone receiving.more than $4
million~.

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Top DEA special agent \~.-;':o
helped run the drug agency
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'i`he Ghost

One 01 the most mysterious
alleged associates ol
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Tho secret backslory of how Obama let Hezboll:-ih off the hook

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Super Facilitator Initiative"‘ in 2013, Kelly said, only the Department

of Homeland Securi`ty’s Customs and Border Protection was sharing
information and resources,

"The FBl and other parts of the USG [U.S. government] provide a
little or no assistance during our investigations," Kelly wrote in the
email. “'l`he USG'lack of action on this issue has allowed [Hezbollah]
to become one of the biggest transnau'onal organized crime groups

in the world."
Around this time, people outside Project Cassan_dra began noting

that senior administration officials were increasingly suspicious of
it.

Subject~: Em'ail subject unknown

 

 

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Em_ali recreation

Douglas Farah, a_transnati_onal crime aria_lys_t, said he tried to raise
the Project~`Cassandra invesdgations»with Obarna officials in order to

' corroborate his own»on-the‘.ground research, .withoutsuccess.
“When.it looked_like the [nuclear`] agreement might.actually happen
it'became clear that there‘was no interest in‘dealing with anything
about kan or Hezb ollah on the ground that it may be negative, that it
might scare o'H the Iraniansi" said Farah

Asher, meanwhile said he and others began hearing “frorn multiple
people involved in the`Iran discussions that tlds'I-lezbolla'hfs'tuff was
definitely getting in the way of a successful negotiation,'"he~»said.
One Obama national security official even said so explid.tly in the
same State Department meeting in which he boasted ab.our~`how. the

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The secret ba'ci`<story of how Obama let Hezboi|ah off the hook

 
  

ttp://'www.politico.com) Pro?'¢:dc¥%i:zrs]si§ll£taatiorl>g¥tals ?rip§il?glcogaergller a broad Coalition m the Middle v U
East, including Hezbollah, t_o fight the lslamic State terrorist group,

Asher recalled

Indecd, the United States was seeking Ira.n's help in taking on the
Islarnic State. As the nuclear deal negotiations were intensifying
ahead of a Novernber 2014 diplomatic deadline Obama himself
secretly wrote to Iran's supreme leader. _Ayatollah Ali Khamenei, to
say the two countries had a mutual interest in fighting Islamic State
militants in Iraq and `Syria-, The Wall Street lournal reported.

Kerry, who was overseeing the negotiations rejected suggestions
that the nuclear deal was linked to other issues affecting the U.S-
Iran.ian relationship

”The nuclear negotiations are on'their own," he told reporters
"’Ihey're standing.separate from anything -else. And no discussion
has eyertaken'pla`ce aboutlinking one thing to another."

“'-l'he nuclear negotiations are on their
own. They’~re standing separate from
anything else.”

- Secretaly of$tate Jahn'K`eny to reporters

Bnt even some former ClA ofdcials said the negotiations-were
affecting their dealings in the Middle East- a.'nd those of the DEA.

DEA operations in the Middle Eastwere shut down repeatedly due to
political sensitivities, especially in Leb'anon. according m one former
CIA of&‘cer workingin the region I-Ie said pressure from the White
Ho_use also prompted the CIA to declare "a moratoriurri" on covert
operations against Hezbollah in lebanon too. for a time, after the
administration received complaints from hanian negotiators

"During the negotiations early on. they [the Iranians] said listen».we
n_eed~you to lay off H'ezbollah, to'tamp down the pressure on them,
and the Obarna administration acquiesced to that request," the
former C-l_A ofticertoldPOLl'l`lCO. “lt was a strategic decision,to show
. good faith toward the Iran_ians in terms of reaching an agreement."

'l'he Obarna team_ “really, really really wanted the deal,” the former

officer said.

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The secret backslory of how O`bama let Hezbol|ah off the hook

"`"'”/"'"`""`°"“°°"°’“' p'°‘l'\`i smaiiith't£“§ili “i“é'ally, really, really

wanted the deal."

- Former `ClA officer on how intelligence operar/`ans were also impacted by
negotiations with lran.

A-s a result-, "We were making concessions that had never been made
before, which is outrageous to anyone in the agency," the former
intelligence officer said, adding that the orders from Washing!on
especially infuriated CIA officers in the field who knew that
I-lezbollah "was still doing assassinations and other terrorist

activities ."

That allegation was contested vehemently by the former senior
Obama national security official who played a role in the Iran
nuclear negotiationsl "That‘the Iranians would ask for a favor in this
realm and that we would acquiesce is ludicrous," he said.

Nonetheless, feeling that he had few options left, Asher went public
with hisc`oncerns at a congressional hearing in May 2015 saying.
”the Department ofJustice should seek to indict and prosecute"
Hezbonah's mamie Jnad;orgamzarion as an mrernaeonai
conspiracy using the RICO’s_tatute. Tha't was the only way, he
tesdfied,_for U.S. officials to “defeat narcot_errorism financing
including that running right through the heart off the American
financial system,’.' as Hezbollah was doing with the used-cars
scheme

'I`he nuclear deal was signed,in]uly 2015, and formally implemented
on Jan 17, 2016. A week la.ter,l almost-two years after his`arrest, Czech
otiicials nnallyrel_eased Faya_d`to Lebanon in exchangeer five Czech
citizens that I-le‘zbollah operatives had `lcidnapp`ed_ as bargaining
chips.

Unlllce in the'case of Bont; the former arms trafficker for Putir`a..
neither-Obar`n'a,nor other senior White House officials made
personal pleas for the extradition of Fayad, task force oHcials-said.
Afcerward, the U.S. Embassy in the Czecb Republic» issued a
statement saying, l"We are dismayed by »the'Cz`ech governments

decision.”

For the task force, Fay`ad's release was one of the biggest blows yet.
Some- agents toldPOl.l'l`l`CO~ that I~'ayad's_ relationships with

H'ezl_)'ollah, Latin.American drug'cartels and the governments of Iran;

Syn`.a and Russia made hima critically important witness in any
RICO prosecution and in virtually all of their ongoing investigations

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Viktor An`atolyevich
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